Case: 3:02-_cv-50029 Document #: 1 Filed: 01/25/02 Page 1 of 17 Page|D #:1

 

 

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IN THE UNI’I`ED S'I`ATES DISTRICT COURT £“' ”"J' j n
FOR THE NORTHERN DISTRICT ()F ILLINOISYM "`° l.‘. §.‘: C§ F.é m _
WESTERN DIVISION § f f ¢»' ah
MARJORIE BLOOD, )
)
Plaintiff, ) d __ _
vs. ) Case No. ` `
)
MTP, INCORPORATED, d`/b/a PAPA JOHN’S ) JURY DEMAND
PIZZA; PAPA .}OHN’S INTERNATIONAL, INC.; )
and KEVIN CAMPBELL )
)
Defendants. )

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Plaintit`f`J MARJORIE BLOOD, by her Attorneys, Reno, Zahm, Folgate, Lindberg & Powell,
complains of the Defendants, MTP, INCORPORATED, d/b/a PAPA JOI-IN’S PIZZA', PAPA

JOHN’S INTERNATIONAL, INC.; and KEVIN CAMPBELL as follows:

FACTS COMMON TO ALL COUNTS
l. At all material times hereto, Plaintiff, l\/IARJORIE BLOOD, was an adult female
resident of the County of Rock, State of Wisconsin. n
2. At all material times hereto, Defendant, MTP, INCORPORATED (“MTP”) Was an
Illinois corporation With its principle office located in the County of Winnebago, State of lllinois.
3. At all material times hereto MTP operated a Papa John’s Pizza restaurant in South
Beloit, Illinois.

4. At all material times hereto, PAPA JOHN’S INTERNATIONAL, INC. (“Papa

JOhn’S”) Was a Ken’£ll€ky COl’p()I'atiOIl. .r %:S%ggko`,“
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5. Upon information and belief, at all material times hereto, Defendant, KEVIN
CAMPBELL (“Campbell”) was an adult male resident of the County oi"Rock, State of Wisconsin.
6. At all material times hereto, MTP and Papa John’s were employers as defined by 42

U.s.c.§ 2000(@)(b).

7. Upon information and belief, at all material times hereto, Campbell was an employee
of MTP and Papa John’s.

8. Campbell was a Gerieral Manager in training at MTP’s South Beloit Papa John’s.

9. At all material times hereto, the Creneral Manager of the South Beloit Papa John’s

was Donna Peterson.

10. Upon information and belief, on or about February 25, 2001, Marjorie Blood was
hired by MTP and Papa John’s to fill the position of group sales and events coordinator at the South
Beloit Papa John’s.

l l . At all material times hereto, Marj orie Blood reported directly to the General Manager
on duty at the South Beloit Papa lohn’s.

12. At all material times hereto, the Area Supervisor for the South Beloit Papa John’s was
leff Srnec. 7

13. From February 25, 20001 through June 8, 2001, Marjorie Blood was subjected to a
hostile Work environment consisting of repeated and extreme sexual harassment by Campbell,
including unwanted physical touching, sexually explicit language and threats, and sexual advances

14. Upon information and belief, a co-worker, Crystal Blazer, was the first to advise

management of the conduct of Campbell.

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15. Thereafter, Marjorie Blood had a meeting with Donna Peterson and Jeff Srnec
concerning the actions of Campbell

l6. Upon information and belief, Campbell was informed by management of Marjorie
Blood’s complaint concerning Campbell’s behavior

17. Thereafter, the harassment of Marjorie Blood by Campbell intensified and included
unwanted physical touching, sexually explicit language and threats, and sexual advances

18. After the harassment intensified, Marjorie Blood had further discussions with Jeff
Srnec concerning the actions of Campbell and repeatedly requested that .l eff Srnec take action to stop
the harassment by Campbell-.

l9. Jeff Srnec and Tom'Baudhuin terminated l\/farjorie Blood on June 8, 2001, and
Campbell was promoted to General Manager of the Janesville Papa John’s.

20. Thereafter, l\/larjorie Blood timely filed a Charge of Employment Discrimination
against M'I`P, Papa John’s and Campbell with the District Office of the Equal Employment
Opportunity Commission and the Illinois Department of Human Rights. A copy of Marj orie Blood’ s
Charge of Employment Discrimination is attached hereto and marked as Exhibit “A.”

21. Marjorie Bloodreceived a “Notice of Right to Sue” relating to the previously filed
Charge from the District Ofiice of the Equal Employment Opportunity Commission on or after
November l, 2001, entitling her to institute a civil action with respect to the above-referenced
conduct within 90 days of receipt of said Notice. A copy of said Notice is attached hereto and
marked as Exhibit “B.”

22. The claims in Counts I, II, and III arise under 42 U.S.C. § 2000(e), et. seq., as
amended by the Civil Rights Act of 1991, and the claims in Counts IV, V, Vl, VII, VIII, and IX arise

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under Illinois state law. 'Federal question jurisdiction, 28 U.S.C. § 1331, exists as to Counts I, II, and
lIl, and supplemental jurisdiction, 28 U.S.C. § l367, exists as to Counts IV, V, VI, Vll, VIII, and
IX. This cause may be brought in this judicial district pursuant to 28 U.S.C. § 139l(b), as the
alleged violations of l\/larjorie Blood’s federal rights occurred in the Northern District of Illinois

Westem Division.

Count I - Sex Discrimination
Papa John’s and MTP

l. - 22. l\/larj orie Blood repeats and realleges Paragraphs l through 22 of the Facts Common
to All Counts as Paragraphs l through 22 of Countl of Plaintiff` s Complaint.

23. At all times material hereto, l\/Iarjorie Blood was, and remains, qualified to perform
her job with MTP and Papa John’s, and performed the duties thereof in a manner consistent with
their standards

24. MTP and Papa .lohn’s, treated Marj orie Blood differently because of her sex, female

25. Specifically, from the inception of her employment, Marj orieBlood was continuously
discriminated against with respect to the terms, conditions and privileges of her employment, due
to her sex, female in that she was subjected to unwanted physical touching, sexually explicit
language and threats, and sexual advances

26. Marjorie Blood reported the above conduct to management and was subsequently
terminatedl

27. Because of Defendants’ actions, l\/larj orie Blood suffered amaterially adverse change

in the terms, conditions and privileges of her employment while Campbell received a promotion

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28. Marj orie Blood’s status as a female was a motivating factor in the discrimination she
endured and was a motivating factor in her discharge

29. The conduct of l\/ITP and Papa John’s, by and through its agents, servants, and
employees, with respect to Marjorie Blood, including but not limited to her discharge constitutes a
willful violation of the Civil Rights Act of 1964, as amended, 42 U.S.C.§ZOOO(e) et seq., as the
employment decisions concerning Marjorie Blood were based upon l\/larjorie Blood’s sex.

30. As a proximate result of the conduct, Marj orie Blood sustained damages, including
but not limited to, mental and emotional distress, pain and suffering, humiliation and loss of wages
(past and future).

WHEREFORE, Plaintiff, l\/IARJORIE BLOOD, seeks compensatoryand economic damages,
damages for emotional pain and suffering, attorney’ s fees pursuant to 42 U.S.C. §2000(e) et seq., cost
of suit, punitive damages, and all other proper damages against MTP and Papa .lohn’s, in a sum far

in excess of $75,000, together with such other relief as this court deems just and proper.

Count II - Sexual Harassment
Papa John’s and MTP

l. - 22. Marjorie Blood repeats and realleges Paragraphs l through 22 of` the Facts Common
to All Counts as Paragraphs l through 22 of Count ll of Plaintiff’s Complaint.

23. Throughout her employment, l\/larjorie Blood was subjected to a hostile work
environment, including, but not limited to, unwanted physical touching, sexual advances, sexually
explicit language and threats from Campbell. Examples include the following: (a) Campbell did not

allow Marjorie Blood out of a freezer for approximately 20 minutes while he pleaded with her to

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have a relationship with him and initiated physical contact with her; (b) Campbell pinned Marjorie
Blood against the corner of her desk so she was unable to move; and (c) Campbell threatened to com
workers that he would follow Marjorie Blood home, break into her home, and “hit it” with her
(referring to sexual intercourse).

24. Marj orie B lood complained to management about the above harassment she endured
and continued to endure.

25. On .lune 8, 200l, Marjorie Blood’s employment was terminated

26 . One or more of the foregoing actions constitute sexual harassment in violation of 42
U.S.C.§2000(e) et seq.

27. The conduct of Campbell, l\/ITP and Papa John’s, was intentional and with deliberate
indifference to the rights of Marj orie Blood, and altered Marj orie Blood’s working conditions

28. As a proximate result of the conductJ Marjorie Blood sustained damages, including,
but not limited to, mental and emotional distress, pain and s_uffering, humiliation and loss of wages
(past and future).

WI-IEREFORE,Plaintiff,l\/IARJORIEBLOOD, seeks compensatoryand economic damages,
damages for emotional pain and suffering, attorney’s fees pursuant to 42 U.S.C.§2000(e) et seq., cost
of suit, punitive damages, and all other proper damages against MTP and Papa John’s, in a sum far

in excess of S75,000, together with such other relief as this court deems just and proper.

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Count III - Retaliation
Papa John’s and MTP

l. - 22. Marj orie Blood repeats and realleges Paragraphs l through 22 of the Facts Common
to All Counts as Paragraphs 1 through 22 of Count lII of Plaint_iff’s Complaint.

23. Throughout her employment, Marjorie Blood was subjected to a hostile work
environment, including, but not limited to, unwanted physical contact, sexual advances, sexually
explicit and abusive language and threats from Campbell

24. Marjorie Blood reported to management the above harassment she endured and
continued to endure.

25. After reporting Campbell’ s conduct, Marj orie Blood was retaliated against when her
employment was terminated Despite knowledge of Campbell’s actions, Campbell was promoted
to General Manager of the Janesville Papa John’s.

26. -'l`he conduct of Campbell, MTP and Papa John’s was intentional and with deliberate
indifference to the rights of Marj orie Blood and constitutes a willful violation of the Civil Rights Act
of 164, as amended, 42 U.S.C.§2000(e) et seq.

27. As a proximate result of this conduct, Marjorie Blood sustained damages, including,
but not limited to, mental and emotional distress, pain and suffering, humiliation, and loss of wages
(past and future).

WI-IEREFORE,Plaintiff, MARJOR_IE BLOODJ seeks compensatoryand economic damages,
damages for emotional pain and suffering, attorney’s fees pursuant to 42 U.S.C. §2000(e) et seq., cost
of suit, punitive damages, and all other proper damages against MTP and Papa lohn’s, in a sum far

in excess of $75,000, together with such other relief as this court deems just and proper.

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Count IV - Assault and Batterv
Papa John’s and MTP

l. - 19. Marjorie Blood repeats and realleges Paragraphs l through 19 of the Facts Common
to All Counts as Paragraphs l through 19 of Count lV of Plaintiff’s Complaint.

20. During the course of Marj orie Blood’ s employment at MTP, Campbell assaulted and
battered Marj orie Blood in the following manner: (a) on or about March 14, 2001, Campbell did not
allow Marj orie Blood to leave a walk-in freezer at the South Beloit Papa John’s, he initiated physical
contact with Marj orie Blood, and only let her leave when a co-worker opened the door; (b) Campbell
pinned Marjorie Blood against the corner of her desk so that she was unable to move; and (c)
Campbell threatened to co-workers that he would follow Marj orie Blood home, break into her home,
and “hit it” with her (referring to sexual intercourse).

21 . l\/ITP and Papa John’ s, through their employee and agent, CampbellJ who was acting
within his authority, was guilty of assault and battery in one or'more of the following respects: (a)
intentionally and offensively initiating physical contactand prohibiting Marj orie Blood from leaving
the freezer; (b) intentionally and offensively pinning Marjorie Blood at her desk so that she could
not move; and (c) intentionally and offensively threatening to co-workers that he would follow
Marjorie Blood home, break into her home, and “hit it” with her (referring to sexual intercourse).

22. As a proximate result of the conduct, Marjorie Blood suffered physical, mental and
emotional injury, including mental anguish and humiliation

23. The foregoing conduct was intentional and with utter disregard for Marj orie Blood’s

rights, health and well being that reaches the level of oppression, coercion and intimidation above

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and contrary to the dictates of common decency, and therefore, the actions demonstrate malice and
permit and entitle Marjorie Blood to punitive damages

WHEREFORE, Plaintiff, MARJORIE BLOOD, prays that the court enter judgment in favor
of Marjorie Blood and against MTP and Papa John’s in an amount far in excess of $75,000 plus cost

of suit, together with such other and further relief as this Court deems just and proper.

Count V - Assault and Batterv
Campbell

l. - 20. Marjorie Blood repeats and realleges Paragraphs l through 20 of Count IV as
Paragraphs l through 20 of Count V of Plaintiff’s Complaint.

21. Campbell was guilty of assault and battery in one or more of the following respects:
(a) intentionally and offensively initiating physical contact and prohibiting Marjorie Blood from
leaving the freezer; (b) intentionally and offensively pinning Marjorie Blood at her desk so that she
could not move; and (c) intentionally and offensively threatening to follow Marjorie Blood home
and “hit it” with her (referring to sexual intercourse).

22. As a proximate result of the conduct, Marjorie Blood suffered physical, mental and
emotional injury, including mental anguish and humiliation

23. The foregoing conduct was intentional and with utter disregard for Marjorie Blood’ s
rights, health and well being that reaches the level of oppression, coercion and intimidation above
and contrary to the dictates of common decency, and therefore, the actions demonstrate malice and

permit and entitle Marjorie Blood to punitive damages

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WHEREFORE, Plaintiff, MARJORIE BLOOD, prays that the court enter judgment in favor
of Marjorie Blood and against Campbell, individually, in an amount far in excess of $75,000 plus

cost of suit, together with such other and further relief as this Court deems just and proper.

Count VI - False Imprisonment
Papa John’s and MTP

l. - 19. Marj orie Blood repeats and realleges Paragraphs l through 19 of the F acts Common
to All Counts as Paragraphs 1 through 19 of Count Vl of Plaintiff’ s Complaint.

-20. On or about March 14, 2001, Campbell physically prevented Marjorie Blood from
leaving a walk-in freezer for approximately 20 minutes while he pleaded with her to have a
relationship with him and initiated physical contact with her.

21. MTP and Papa John’s were then and there guilty of false imprisonment in that its
employee and agent, Campbell, who was acting within his authority, unlawfully restrained and
detained the movements of freedom of Marjorie Blood against her will.

22. As a proximate result of the conduct, Marjorie Blood suffered physical, mental and
emotional injuryJ including fear for her life, mental anguish, and humiliation.

23. The foregoing conduct was intentional and with utter disregard for Marj orie Blood’s
ri ghts, health and well being that reaches a level of oppression, coercion and intimidation above and
contrary to the dictates of common decencyJ and therefore the actions demonstrate malice and permit

and entitle Marjorie Blood to punitive damages

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WHER_EFORE, Plaintiff, l\/IARJORIE BLOOD, prays that the court enter judgment in favor
of Marj orie Blood and against MTP and Papa lohn’s, in an amount far in excess of $75,000 plus cost

of suit, together with such other and further relief as this Court deems just and proper.

Count VII - False Imnrisonment
Campbell

l. - 20. Marjorie Blood repeats and realleges Paragraphs l through 20 of Count Vl as
Paragraphs l through 20 of Count VII of Plaintiff’ s Complaint.

21. Campbell was then and there guilty of false imprisonment in that he unlawfully
restrained and detained the movements of freedom of Marjorie Blood against her will.

22. As a proximate result of the conduct, Marjorie Blood suffered physical, mental and
emotional injury, including fear for her life, mental anguish, and humiliation

23. The conduct of Campbell was intentional and with utter disregard for Marjorie
Blood’s rights, health and well being that reaches the level of oppression, coercion and intimidation
above and contrary to the dictates of common decency, and therefore the actions demonstrate malice
and permit and-entitle Marj orie Blood to punitive damages

WHEREFORE, Plaintiff, MARJORIE BLOOD, prays that the court enter judgment in favor
of Marjorie Blood and against Campbell, individually, in an amount far in excess of $75,000 plus

cost of suit, together with such other and further relief as this Court deems just and proper.

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Count VIII - Intentional Infliction of Emotional Distress
Papa John’s and MTP

 

1. - 20. Marjorie Blood repeats and realleges Paragraphs 1 through 20 of Count 1V as
Paragraphs 1 through 20 of Count VIII of Plaintift`s Complaint.

21 . MTP and Papa lohn’s, by and through their employee and agent, Campbell, who was
acting within his authority, knew that the actions identified above were an extreme violation of
Marj orie Blood’s rights, and that the actions would cause any reasonable person to fear for her life
and that the actions would cause humiliation and embarrassment and cause emotional distress
intimidation and harassment

22. As a proximate result of the conduct of MTP and Papa John’s, by and through its
employee and agent, Marjorie Blood suffered severe emotional distress, emotional pain and mental
anguish including, but not limited to, nervousnessJ sleeplessness, depression and other physical
injury for which she was required to seek counseling and cause her to incur economic hardship

WHEREFORE, Plaintiff, MARJORIE BLOOD, prays that the court enter j udgment in favor
of Marj orie Blood and against l\/ITP and Papa lohn’s, in an amount far in excess of $75,000 plus cost

of suit, together with such other and further relief as this Court deems just and proper.

Count IX - Intentional Infliction of Emotional Distress
Campbell

1. - 20. Marjorie Blood repeats and realleges Paragraphs 1 through 20 of Count VIlI as

Paragraphs 1 through 20 of Count IX of Plaintiff’ s Complaint.

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23. Campbell knew that his actions were an extreme violation of Marj orie Blood’ s rights
and that the actions would cause any reasonable person to fear for her life and that said actions would
cause humiliation and embarrassment and cause emotional distress intimidation and harassment

24. As a proximate result of the conduct, Marjorie Blood suffered severe emotional
distress,emotional pain and mental anguish including, but not limited to, nervousness sleeplessness,
depression and other physical injury for which she was required to seek counseling and cause her
to incur economic hardship

WI-IEREFORE, Plaintiff, l\/IA_RJORIE BLOOD, prays that the court enter j udgment in favor
of Marjorie Blood and against Campbell, individually, in an amount far in excess of 375,000 plus

cost of suitJ together with such other and further relief as this Court deems just and proper.

Plaintiff, Marjorie Blood
By Reno, Zahm, Folgate, Lindberg & Powell,
Her Attorn/eys

By ‘“ A/

raig P. Thomas

Reno, Zahrn, Folgate, Lindberg

& Powell

By: Craig P. Thomas

1415 E. State Street, Suite 900
_ Rockford, IL 61104

(815) 987-4050

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Kevi_n Campbell _ ` _ _ goe"'fl-l$~OT}+S "¢w¢¢ rca aa
ernest diseases exrr. sure Ai'i'i` zu- cons SEE ATTACBED cousin
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sexual harassment C.'.l continuous norton ‘

 

 

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The scxual.harassment of Compla\nant by Kevin Campbell included b
sexual slurs about Complainant, threatening to follow Complainant home and

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On or about February 2$, 2001 Complainant was hired by M'I'P, Inc., dfb)'a Papa Iolms Pizza in the
position of “Group Sa|es and Eveots”. During the time that Complainant was employed at Respondenc,
Complainant was sexually harassed by Kevin Campbell resulting in Complainant being subjected to a hostile

ut was not limited to making
“liit it" with her deferring to

sexual imercourse), unwanted physical contact which escalated to pinning Complainant in the corner of her
desk so she was unable to move and not allowing Complaina.nt out cfa li'eezer for approximater 20 minutes

The General Manager ofthe Soudi Beloic Papa lolins, Donna Peterson, was advised of the sexual
harassment Donna Pecerson reported the sexual harassment to the Area Supervisor, Jeff Sarnec. Subsequent

to the complaints of sexual harassment made by Compl rComplainant was terminated from her
employment in retaliation for said complaints Kevin Campbell w ° rapid and made General Manager of
. the lanesville, Wisconsin Papa Johns owned by MTP, Inc. /Té/_'é'/»Q;V /P/
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NOT|CE OF RlGHT TO lSU'E

(Issued on request)

 

 

To: Ma.t',jOl"le BlOOCl From:
2017 FOREST ST _. EQUAL EMPLOYMENT OPPORTUNITY COMM.
BELOIT, WI 53511 " ' . Chioago District Office

_ 500 W. Madison Street Suite 2800
m On behalfofa person aggrieved whose identity is CONFIDENTML C h l C 330 s IL 6 0 6 6 1"2 5 l l
(29 C.F.R 1601.7(o) )

 

 

Chargo Number EEOC Ftepresentatlve Telephone Nurnber
2lBAl3413 Nola Smith, S&L Coord. (312) 886*5973

 

 

 

( See the additional information attached to this form )

NOT|CE TO THE PEF|SON AGGH|EVED:
Tlt!e Vllctthc Civil nghte Act ot1984 and/or the Amertcans with D!sabilities Act (ADA): This is your Notice or night to sue. it is
issued under Title VII and/or the ADA based on the above-numbered charge. It has been issued at your request. Your lawsuit under

Title vii or the ADA must betl|ed in tederal court MII;[[N_,QQ_,QAX§ of your receipt of this Nottco. otherwise, your right to sue based
on this charge will be lost. (The time limit for filing suit based on a state claim may be dittorent.)

|:[ More than 180 days have passed since the filing of this charge.

m Less than 180 days have passed since the filing ot this charga, but l have determined that it is unlikely that the EEOC will be
able to complete its administrative processing within 180 days from the filing of the charge

- The EEOC is terminating its processing of this charge.

[______l The EEOC will continue to process this charge.

Age Di$ct’lmil‘tailon in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until

90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below
applies to your case:

\:I The EEOC is closing your case. Ther‘efore, your lawsuit under the ADEA must be filed in federal court MIH]_N__S_Q_QA§ ofyour
receipt ofthis Notioe. Otherwise, your right to sue based on the above-numbered charge will be lost.

|::l The EEOC is continuing its handling of your ADEA case. Howevor, if 60 days have passed since the filing of your charge, you
may file suit in federal or state court under the ADEA at this time.

Equa| Fay Act (EPA): You already have the right to sue under the EPA (tiling an EEOC charge is not required). EPA suits must be
brought in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment This means

that backpay due for any violations that occurredmizt;e_thath_yeaLs_(§_yeele before you tile suit may not be collectible.

If you file suit based on this charge, please send a copy of your court complaint to this office.

  

_¢n Behalf of the Commission

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John P. Bowe, District Director ame)

 

Enc|oeure(s)

¢: MTP ING DBA PAPA JOHNS PIZZA / KEVIN CAMPBELL

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The JS-44 civil oover_sheet and the iniormstion contained herein neither replace nor supplement the filing end service of pleadings or other papers as require
by iaw, except as provided by local rules of court This form. approved by the Judiciai Coni‘erertce of the Un'ried States in September 1974. is required for the us
of the Ciei'k of Court for the purpose of initiating the civil docket sheet (SEE |NSTFiUCTlONS ON THE REVERSE OF THE FORM.)

 

l. (a) PLA|NTIFFS DEFENDANTS _
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